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             APPEARANCE SHEET FOR HEARING BEFORE
                         JUDGE ISGUR
                   Wednesday, August 5, 2020
First Name    Last Name            Firm Name                   Client Name

Serajul       Ali                  U.S. Dept. of Justice       U.S. Dept. of the Interior
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Charles A.    Beckham, Jr.         Haynes and Boone, LLP       Ad Hoc Group of Secured Lenders
Charles A.    Beckham, Jr.         Haynes and Boone, LLP       DIP Agent
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                                                               Goldman Sachs Bank USA, as First Lien First Out
Brad          Foxman               Vinson & Elkins LLP         Administrative Agent
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Stephen       Statham              Department of Justice       United States Trustee
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